AO 245B (Rev. 12/03) Judgment in a Criminal Case


                                     UNITED STATES DISTRICT COURT
                                               EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE

                              v.                                        Case Number: 03-CR-117

LARRY STERNAL                                                           USM Number: 06951-089

                                                                        Kirk Obear
                                                                        Defendant's Attorney

                                                                        William J. Roach
                                                                        Assistant United States Attorney

THE DEFENDANT pleaded guilty to count one of the second superseding indictment.


The defendant is adjudicated guilty of these offense(s):

         Title & Section                           Nature of Offense                    Offense Ended              Count


 U.S.C. 21 §§ 841(a)(1),               Knowingly and intentionally conspired to          June 5, 2003                  1
 841(b)(1)(B) & 846.                   distribute controlled substances.


        The defendant is sentenced as provided in Pages 2 through 6 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

          All remaining counts are dismissed on the motion of the United States.

       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and the United States attorney of
any material change in the defendant's economic circumstances.

                                                                        Date of Imposition of Judgment
                                                                        May 27, 2005

                                                                        s/ William C. Griesbach, U.S. District Judge
                                                                        Signature of Judicial Officer

                                                                        June 1, 2005
                                                                        Date




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                                                       IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of fifty-one (51) months as to count one of the second superseding indictment.

:         The court makes the following recommendations to the Bureau of Prisons:
          The court strongly recommends the 500-hour drug program.
          The court’s primary recommendation for facility placement is based on the availability of the drug program. The
          court’s secondary recommendation is that the defendant be placed in a facility in the Chicago, Illinois area or in or
          near the State of Texas.

:         The defendant is remanded to the custody of the United States Marshal.
9         The defendant shall surrender to the United States Marshal for this district
          9         at ____ a.m./p.m. on ____.
          9         as notified by the United States Marshal.
          9         as notified by the Probation or Pretrial Services Office.

9         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons,
          9         before ____ a.m./p.m. on ____.
          9         as notified by the United States Marshal.
          9         as notified by the Probation or Pretrial Services Office.


                                                            RETURN

          I have executed this judgment as follows:




        Defendant delivered on ___________________ to __________________________________________________
at _______________________________ with a certified copy of this judgment.



                                                                      UNITED STATES MARSHAL

                                                                      By:
                                                                                 Deputy United States Marshal




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                                                       SUPERVISED RELEASE

          Upon release from imprisonment, the defendant shall be on supervised release for a term of five (5) years.


         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

          The defendant shall not commit another federal, state or local crime.

         The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance.


          :         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

          :         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

          9         The defendant shall register with the state sex offender registration agency in the state where the defendant resides,
                    works, or is a student, as directed by the probation officer.
          9         The defendant shall participate in an approved program for domestic violence.

        If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in
accordance with the Schedule of Payments sheet of this judgment.

         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
1.        the defendant shall not leave the judicial district without permission of the court or probation officer;
2.        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
          of each month;
3.        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4.        the defendant shall support his or her dependents and meet other family responsibilities;
5.        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
6.        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7.        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8.        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9.        the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
          of a felony, unless granted permission to do so by the probation officer;
10.       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
          of any contraband observed in plain view by the probation officer;
11.       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
          officer;
12.       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court;
13.       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
          criminal record or personal history or characteristics and shall permit the probation officer to make such notification and to
          confirm the defendant's compliance with such notification requirement.




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                                      ADDITIONAL SUPERVISED RELEASE TERMS
1.        The defendant is to participate in a program of testing and residential or outpatient treatment for drug and alcohol
          abuse, as directed by the supervising probation officer, until such time as he or she is released from such program
          by the supervising probation officer. The defendant is to refrain from use of all alcoholic beverages throughout the
          period of this supervision. The defendant shall pay the cost of this program under the guidance and supervision of
          the supervising probation officer.
2.        The defendant is not allowed to work at a tavern or be allowed to patronize taverns or any establishments where
          alcohol is the principal item of sale.
3.        The defendant is to provide access to all financial information requested by the supervising probation officer
          including, but not limited to, copies of all federal and state tax returns. All tax returns shall be filed in a timely
          manner. The defendant shall also submit monthly financial reports to the supervising probation officer.
4.        The defendant shall cooperate in the collection of DNA under the guidance and supervision of the supervising
          probation officer.
5.        The defendant shall not associate with any member, prospect or associate member of the Insane Disciples gang or
          any other gang. the defendant shall have no communication whatsoever with the Insane Disciples gang or any other
          gang.




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                                                    CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the Schedule of Payments on the attached page.

                                                    Assessment                      Fine                      Restitution
              Totals:                                 $100.00                        $                             $


9         The determination of restitution is deferred until ___. An Amended Judgement in a Criminal Case (AO 245C) will
          be entered after such determination.
9         The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.

        If a defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i),
all nonfederal victims must be paid before the United States is paid.

          Name of Payee                             **Total Loss             Restitution Ordered         Priority or Percentage




              Totals:                                    $                           $


9         Restitution amount ordered pursuant to plea agreement: $                    .
9         The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid
          in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
          options on the Schedule of Payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C.
          § 3612(g).

9         The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
          9         the interest requirement is waived for the             9 fine          9 restitution.
          9         the interest requirement for the                       9 fine          9 restitution, is modified as follows:
**        Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United
          States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.




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                                                    SCHEDULE OF PAYMENTS

        Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as
follows:

A         9         Lump sum payment of $_______ due immediately, balance due
                    9         not later than _________, or
                    9         in accordance with 9 C, 9 D, 9 E, or 9 F below; or

B         :         Payment to begin immediately (may be combined with 9 C, 9 D, 9 E, or 9 F below; or

C         9         Payment in monthly installments of $___ until paid in full, to commence 30 days after the date of this
                    judgment; or

D         9         Payment in monthly installments of $___ until paid in full, to commence 30 days after release from
                    imprisonment to a term of supervision; or

E         9         Payment during the term of supervised release will commence within 30 days after release from
                    imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay
                    at that time; or
F         9         Special instructions regarding the payment of criminal monetary penalties:


         Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes
imprisonment, payment of criminal monetary penalties is due during the period of imprisonment. All criminal monetary
penalties, except those payments made through the Bureau of Prisons' Inmate Financial Responsibility Program are made to
the clerk of court.

          The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

9         Joint and Several
          Defendant and Co-Defendant Names, Case Numbers (including defendant number), Total Amount, Joint and Several
          Amount, and corresponding payee, if appropriate:

9         The defendant shall pay the cost of prosecution

9         The defendant shall pay the following court costs

9         The defendant shall forfeit the defendant's interest in the following property to the United States:

         Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court
costs.



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